Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 1 of 11 PageID #: 1
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 2 of 11 PageID #: 2
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 3 of 11 PageID #: 3
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 4 of 11 PageID #: 4
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 5 of 11 PageID #: 5
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 6 of 11 PageID #: 6
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 7 of 11 PageID #: 7
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 8 of 11 PageID #: 8
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 9 of 11 PageID #: 9
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 10 of 11 PageID #: 10
Case 1:22-cv-00883-MN Document 1 Filed 06/29/22 Page 11 of 11 PageID #: 11
